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                                                                                    United States District Court
                                                                                      Southern District of Texas

                                                                                         ENTERED
                                                                                         May 10, 2018
                                                 HEARING MINUTES AND ORDER
                                                                                      David J. Bradley, Clerk

Cause Number: 17CR431

Style: United States of America v. Stephen P. Lynch

Appearances:
Counsel:                                                         Representing:

Sebastian Edwards for Kimberly Leo                               Government
Charles Flood                                                    Defendant


Date: May 10, 2018                                               ERO: Yes
Time: 2:16 p.m. - 2:26 p.m.                                      Interpreter: N/A

At the hearing the Court made the following rulings:

Status conference held.

Defendant’s oral motion for continuance is GRANTED in accordance with the record in open
court.

The Court makes Speedy Trial Act findings: Counsel for Defendant seeks additional time
for analysis of the Government’s evidence and preparation of a defense. Failure to grant
the requested continuance in this proceeding will likely result in a miscarriage of justice.
18 U.S.C. § 3161(h)(7)(B)(i). Thus, the interests of justice served by granting the
continuance outweigh the best interests of the public and the Defendants in a speedy trial.
18 U.S.C. § 3161(h)(7)(A). The Court finds that a period of excludable delay
commenced on September 8, 2017, and will continue until trial in this matter. See 18
U.S.C. §§ 3161(h)(7)(A) and (B). It would be a manifest in justice to deny the request.


Amended scheduling order as follows:
Motions due May 30, 2018 .
Government’s voir dire, jury charge, witness list and exhibit list due May 30, 2018 .
Defendant’s supplements/objections to Government jury charge, voir dire, witness list
and exhibit lists due by 9:00 a.m. on June 11, 2018.
Final pretrial conference set for June 11, 2018, at 10:00 a.m.
Jury selection and trial set for June 12, 2018, at 9:00 a.m. (unless defense counsel is in
trial in Brownsville before Judge Hanen)

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SIGNED at Houston, Texas this 10th day of May , 2018.




                                                          NAN Y F. ATLAS
                                                 SENIOR UNI   STATES DISTRICT JUDGE




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